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                           UNITED STATES DISTRICT COURT                        SEP1 9LU18
                            WESTERN DISTRICT OF TEXAS                     O1EX. tJ.$    3TCL
                                  WACO DIVISION
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MATCH GROUP, LLC,                            §
                                             §
Plaintiff,                                   §
                                             §
v.                                           §       Case No. 6:18-C V-00080-RP-JCM
                                             §
BUMBLE TRADING, INC.,                        §
                                             §
Defendant.                                   §
                                             §
                                             §


                                         ORDER
        Per the direction of the Honorable Alan D. Albright, District Judge, the above case,

presently referred to the undersigned, is to be reassigned to the docket of the Honorable

Alan D. Albright. Accordingly, the Clerk's Office is directed to reassign the above-referenced

cause of action as described.

        SIGNED this 19th day of September, 2018.




                                    U.S'Jl\'ILGISTIUTE JUDGE
